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      EXHIBIT C
           Case 1:18-cv-00124-GJQ-RSK ECF No. 86-3 filed 11/09/18 PageID.867 Page 2 of 2

Callahan, Robert

From:                               Callahan, Robert
Sent:                               Monday, September 10, 2018 3:54 PM
To:                                 'Daniel Rudd'
Cc:                                 'michellem@bolehouselaw.com'; Steve Schultz
Subject:                            Motion For Judgment on the Pleadings



Mr. Rudd: Pursuant to Local Rule, I am inquiring whether you will oppose the motion for judgment on
the pleadings which is in the works. The basis is that the state tort claims fail because necessary
elements are non-existent, and that the factual allegations of conspiracy fail to state claims upon which
relief can be granted.

              Robert A. Callahan
              Plunkett Cooney
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